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March 12, 2019

Via Efiling and Facsimile 856-75 7- 5355

The Honorable Joel Schneider, U.S.MJ.

United States District Court for the District of New Jersey
Mitchell H. Cohen Bldg. & U.S, Courthouse

4th and Cooper Streets, Room 1050

Camden, NJ 08101

Re: Rastelli Partners, LLC and Raymond M. Rastelli, Jr. vs. FOF Bakers
Holding Company, LLC and James A. Baker a/k/a Al Baker, Individually
Civil Action No. 1:19-cv-05124

Dear Judge Schneider:

1 am involved in an arbitration in another matter that consumed my day yesterday and

will consume my day today. 1 am respectfully requesting a brief adjournment to file my clients’
Confidential Mediation Statement from the close of business today until noon tomorrow. Other LP
counse), Gregory Lomax and Gavin Lentz consent to this brief extension with the understanding

that it would also apply to them.

Your Honor’s consideration of this request is greatly appreciated.

Respectfully submitted,
<> _
David R. Dahan
DRD/mgeo
Enclosures

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So O ‘cred this, [a day

 

cc; Gregory A. Lomax, Esquire (via ECF)
Gavin Lentz, Esquire (via ECF)

 

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